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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                      COVINGTON DIVISION

    IN RE:

    REPUBLIC CAPITAL CORPORATION                                              Case No. 16-21623
                                                                              Chapter 7
    DEBTOR                                                                    Judge Wise

                                ORDER GRANTING MOTION TO TAKE
                                      RULE 2004 EXAM OF
                                      CHARLES T. LESTER

           Michael L. Baker, Trustee in Bankruptcy, has requested an order pursuant to Fed. R. Bankr. P.
    2004 requiring Charles T. Lester, “Lester”, to appear for examination at the offices of The Baker Firm,
    PLLC, and produce certain documents. The Court in all ways sufficiently advised;

            IT IS HEREBY ORDERED AND AGREED, that the Trustee’s Motion is granted. Lester shall
    appear for examination at the offices of The Baker Firm, PLLC, 301 W. Pike Street, Covington, KY
    41011, March 20, 2018 at 9:00 a.m. The exam shall be transcribed by court reporter and shall continue
    from day to day until complete. Lester is also ordered to produce the documents listed on Exhibit A to
    the offices of The Baker Firm, PLLC, Michael B. Baker, 301 W. Pike Street, Covington, KY, 41011, no
    later than March 6, 2018. The Trustee may continue generally or forgo the examination entirely after
    receipt and review of the documentation requested.




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                      Signed By:
                                                      Tracey N. Wise
                                                      Bankruptcy Judge
                                                      Dated: Tuesday, February 27, 2018
                                                      (tnw)
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                                              EXHIBIT A


       The Examinee is requested to produce copies of the following documents:

        “Firm” shall mean Charles T. Lester, Attorney at Law, “Lester”, and any predecessor or
successor firm to Lester during the relevant period, and/or any successor entity or responsible attorney
that has taken custody of such firm’s files, accounts, and/or records.

       “Debtor” shall include:

       Republic Capital Corporation.

       a) Republic Capital Equipment Sales

       b) Republic Capital Corporation Truck & Trailer Sales

       c) RepCap Equipment Sales

       d) I-71 Trailer Sales

       e) Republic Insurance Group

       f) STI Truck & Equipment Sales

       g) Republic Truck & Trailer Sales; and

       h) Any account with the Tax ID Number XX-XXXXXXX.

   1. Any and all records, including any ledgers, checks, and/or deposit slips, regarding any funds
      received by the firm, whether as payment or held in trust, for the period November 2011 to the
      present, from or for the benefit of the Debtor, its officers or affiliates, including Joseph Shockey.

   2. Complete copies of all billings and/or invoices issued to the Debtor by the firm for the period
      November 2011 to the present.

   3. A complete copy of the Debtor’s file for any matter handled by the firm opened on or before
      December 16, 2016.

   4. A complete copy of any engagement letter or contract with the Debtor.

   5. Any and all correspondence, including any and all attachments or enclosures, between the firm
      and any other person or entity regarding the Debtor.
